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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

 

Deborah Walton , )
) Cause No. ' q
Plaimiff, ) 1; 1 8 -cv- 1 78 4TWP
)
vs. )
)
First Merchants Bank, Brian Hunt, )
Michael Rechin, and in their individual ) FILE D
capacity )
)) JUN 12 2018
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COMPLAINT

AND DEMAND F()R JURY TRIAL

Plaintiff, Deborah Walton, pro se (“Plaintii}”), as and for her complaint, alleges that First
Merchants Bank (“FMB”), Brian Hunt andRechin, Defendants have violates the Equal Credit
Opportunity Act, (ECO\A) of 1974, 15 U.S.C. § 1691 et. seq, Deceptive Trade Practice Act, FTC
Act, Indiana Privacy and Disclosure Act, and Right to Due Process.

Introduction
This is an action brought by an individual consumer for actual, punitive and
statutory damages, legal fees and costs pursuant to the:
a. Equal Credit Opportunity Act, (ECOA) of 1974, 15 U.S.C. § 1691e et. seq,; and

b. Indiana Privacy and Disclosure Act, IC § 24-4.9'3-3.5,et seq

Jurisdiction

1. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C. §
1691 et. seq

 

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Venue

Venue is proper in this Judicial District since the Defendants conduct business and maintain
offices here.

Parties
The Plaintiff, Deborah Walton, is a natural person African American and is a “consumer”
as that term is defined by 15 U.S.C. § 1692a.
The Defendant Brian Hunt at all times relevant, herein was an Ofi'lcer of FMB and
personally responsible for FMB Policies and Procedures
The Defendant Michael Rechin was, at all times relevant herein, CEO of FMB and
personally responsible for FMB, policies and procedures
The Defendant First Merchant Bank (“FMB”) is a Corporation organized under the Law
of the State of Indiana with executive offices and principle place of business at 200 East

Jackson Street Muncie lndiana, and is subject to the Equal Credit Opportunity Act,

Factual Allegations
First Merchants Bank was sued by Walton in the Southern Distn`ct of Indiana under
cause number l:l7-cv-1888-JMS-MPB, and within a Month after the complaint was
filed, the FMB gave all of the Plaintiff’ s personal information to Alex Rodger, without
Walton’s written consent or permission
Rodger was given Walton’s social security number, date of birth, home and cell
phone numbers,' and account numbers by Brian Hunt, in-house counsel for First
Merchants Bank, and multiple documents with Walton’s Social Security Nurnber listed
on each document was already submitted as exhibits at Mr. Horton’s deposition
(Ex. “A” Depo. Horton; pg. 41, Walton Personal lnformation).

Not only was Walton’s personal information shared with the public by Rodger’s,

 

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he also used it for his own purpose (Ex. “A” Depo. Horton; pg 6-9, Rodgers Admission)
First Merchants Bank also produced Walton’s personal information during discovery
un-redacted, with her Social Security Number, Date of Birth, Home and Cell Phone
Numbers and, Account Numbers; this information was also shared with more than four
employees at the Court Reporters Offlce.

FMB through its agents or employees did not allow the Plaintiff to make a Deposit in one
of her accounts that was acquired by First Merchants Bank from Ameriana Bank.

The Defendant First Merchants Bank did not allow Walton to withdraw available

funds from her account when she made the request at the Carmel Branch (Ex. “B” Depo
Holland; Admission).

The Defendant First Merchants Bank closed all of Walton’s deposit accounts without
providing Walton notice nor a reason as to why FMB closed the accounts

The Defendant First Merchants Bank changed the terms of Walton’s Loan accounts
without providing Disclosures as to why the changes occurred

The Defendant First Merchants Bank neglected to provide Walton Bank Statements for
her Loan Accounts and failed to mail monthly statements on her checking and savings
accounts

The Defendant First Merchants Bank received payments from Walton and did not

apply the funds to the Loan account and refuses to provide Walton with an explanation as
to where the funds were applied.

FMB made material misrepresentations of fact when FMB continued to charge Walton
daily for two months on four accounts FMB closed on June 30, 2017. (Ex. “C” Letter
from Holland); (Ex. “D” Fee Notices From First Merchants Bank).

The Defendant Brian Hunt, conspired to cover up the negligence by the bank from an

e-mail on which he scripted hand written notes (Ex. “E” Hunt; e-mail notes).

 

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Count I
Privacy Act

The allegations of Paragraphs 1 through 18 of the complaint are re-alleged and
incorporated herewith by references

T he Defendants violated the Indiana Privacy Act.

The Defendants shared Walton Social Security Number, Date of Birth, Home Phone
Number, Cell Phone Number and multiple checking and savings account numbers with
third parties without Walton’s consent of the Plaintiff. (Ex “F” Walton Aft).

The Defendants provided Alex Rodgers with Walton’s cell phone number and he used
the cell phone number to ca11 Walton for his own purpose. GEx. “F” Walton Aff).

First Merchants Banks in-house counsel declined to admit in his testimony that they did
not have a written consent form on file to share Walton’s personal information (Ex. “H”

Depo Hunt).

Count Il
Equal Credit Opportunity Act

The allegations of Paragraphs 1 through 22 of the complaint are re-alleged and
incorporated herewith by references

The Defendant violated the Equal Credit Opportunity Act, (ECOA) of 1974, 15 U.S.C.
§ 1691 et. seq,.

ECOA makes it unlawful for a Creditor to discriminate with respect to any aspect of a
Credit Transaction on the basis of race. 15 U.S.C. § 1691 (a) (1). (Ex. “F” Walton Aff).
First Merchants'Bank, did not apply payments made by the Plaintift’ s to her Loan(s).
First Merchants Bank made changes to the Plaintiff’ s Loans and did not disclosure the

changes as required by the Credit Act.

 

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Count III
Negligence

The allegations of Paragraphs 1 through 26 of the complaint are re-alleged and
incorporated herewith by references

First Merchants Bank is negligent by sharing the Plaintiff’ s personal information with
third parties without her written consent

Upon accepting and storing the Personal Information of the Plaintiff in its computer
systems and on its networks, FMB undertook and owed a duty to the Plaintiff to exercise
reasonable care to secure and safeguard that information and to use commercially
reasonable methods to do so, FMB knew that the Personal lnformation of the Plaintiff
was private and confidential and should be protected as private and confidential

FMB owed a duty of care not to subject the Plaintiff, along with her Personal
Inforrnation, to an unreasonable risk of harm because she was foreseeable and probable
victims of inadequate security practices

FMB owed numerous duties to the Plaintiff: a) To exercise reasonable care in obtaining,
retaining, securing, safeguarding, deleting and protecting Personal Information in its
possession; b) T:o protect Personal Information using reasonable and adequate security
procedures and systems that are compliant with industry-standard practices

FMB also breached its duty to the Plaintiff to adequately protect and safeguard Personal
lnformation by knowingly disregarding standard information security principles, despite
obvious risks, and by allowing unmonitored and unrestricted access to unsecured
Personal Informiation. Furthering their dilatory practices, FMB failed to provide
adequate supervision and oversight of the Personal Information with which they were and
are entrusted, int spite of the known risk and foreseeable likelihood of misuse, which
permitted and unknown third part to gather Personal Information of the Plaintiffs, misuse

of the Personal Information and intentionally disclose it to others without consent

 

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FMB knew, or should have known, of the risks inherent in collection and storing Personal
Information, the vulnerabilities of its negligence in providing the Plaintiff s personal
information to a third party whom used it for his own benefits

FMB breached its duties to the Plaintiff by failing to provide fair, reasonable, or adequate
computer systems and data security practices to safeguard the Plaintiff’ s personal info.
FMB violated Section 4 of the FTC Act by failing to use reasonable measures to protect
Personal Information and not complying with applicable industry standards as described
in detail herein. FMB’s conduct was particularly unreasonable given the nature and
amount of Personal lnformation it obtained and stored, and the foreseeable consequences
of a data breach at a corporation such as FMB, including, specifically, the immense
damages that would result to the Plaintiff.

As a direct and proximate result of FMB negligence per se Plaintiff has suffered, and

continues to suffer, injuries and damages arising from FMB’s negligence

Count IIII
Negligence Per Se

The allegations of Paragraphs l through 35 of the complaint are re-alleged and
incorporated herewith by references

Section 5 of the FTC Act prohibits “unfair. . . practices in or affecting commerce,”
including, as interpreted and enforced by the FTC, the unfair act or practice by
businesses such as FMB, of failing to use reasonable measures to protect Personal
Information. The FTC publications and orders described above also form part of the
basis of FMB’s duty in this regard

FMB violated Section 4 of the FTC Act by failing to use reasonable measures to protect
Personal Information and not complying with applicable industry standards, as described

in detail herein. FMB’s conduct was particularly unreasonable given the nature and

 

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amount of Personal Information it obtained and stored, and the foreseeable consequences
of a data breach at a corporation such as FMB, including, specifically, the immense
damages that would result to the Plaintiff

FMB violation of Section 5 of the FTC Act constitutes negligence

The Plaintiff is within FTC Act was intended to protect

As a direct and proximate result of FMB negligence per se Plaintiff has suffered, and
continues to suffer, injuries and damages arising from FMB’s negligence

Alex Rodgers counsel for FMB issued a letter instructing the Court Reporter not to redact
her personal information (Ex. “G” Alex Rodgers Letter)

First Merchants Bank is negligent by refusing Walton services, forcing her to travel to
another FMB branch, closing her accounts, and exposing her to hardship and ridicule
First Merchants Bank engaged in acts of discrimination (Ex. “D” Holland’s Depo).

1 Pray For Relief
WHEREFORE,: the Plaintiff prays that the Court grant the following:

A finding that the Defendants violated the Indiana Privacy Act and/ Equal Credit-
Opportunity Act, (ECOA) of 1974, 15 U.S.C. § 1691 et. seq,

Actual damages under 15 U.S.C. § 1691e

Statutory damages under 15 U.S.C. § 1691e

Punitive damages under 15 U.S.C. § 1691e

Reasonable attcirney fees and costs pursuant to 15 U.S.C. § 1691e

Such other and further relief as the Court deems just and proper.

Request and Demand for a Jury Trail

June 12, 2018

 

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Respectfully submitted,

    

 

Deborah Walton, pro se

 

